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                                                                                   2020 Jan-23 PM 02:17
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION
ISAAC BESTER,                              }
                                           }
       Plaintiff,                          }
                                           }
v.                                         }    Case No.: 2:19-cv-00541-ACA
                                           }
ROCO REAL ESTATE LLC, et al.,              }
                                           }
       Defendants.                         }

                                      ORDER
      This matter is before the court on the parties’ joint motion for approval of their

Fair Labor Standards Act (“FLSA”) settlement agreement. (Doc. 17).

      “When employees bring a private action for back wages under the FLSA, and

present to the district court a proposed settlement, the district court may enter a

stipulated judgment after scrutinizing the settlement for fairness.” Lynn’s Food

Stores, Inc. v. United States, 679 F.2d 1350, 1353 (11th Cir. 1982). The court has

reviewed the parties’ joint motion (doc. 17) and the sealed settlement agreement.

The court finds that the proposed settlement agreement is a fair and reasonable

resolution of bona fide disputes over FLSA provisions. See Lynn’s Food Stores, 679

F.2d at 1354.

      Accordingly, the court GRANTS the parties’ joint motion for settlement

approval. (Doc. 17). Plaintiff Isaac Bester shall recover from Defendants $7,250.00,

of which half ($3,625.00) represents back pay and half ($3,625.00) represents an
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equal amount in liquidated damages for his FLSA wage claims. Defendants agree

solely for the purpose of settlement that Mr. Bester is entitled to recover reasonable

attorneys’ fees and costs. The parties have agreed that the amount of $6,609.00 will

be paid to Mr. Bester’s counsel of record as reasonable attorneys’ fees and costs.

The court DISMISSES this action WITH PREJUDICE.

      The court DIRECTS the Clerk to close the file.

      DONE and ORDERED this January 23, 2020.



                                    _________________________________
                                    ANNEMARIE CARNEY AXON
                                    UNITED STATES DISTRICT JUDGE




                                          2
